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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION




  SCOTT BUSH and LISA NAFIS,

       Plaintiffs,

  v.                                                   Case No. 8:07-CV-1314-T-17

  BAHIA SUN ASSOCIATES, LIMITED
  PARTNERSHIP, a Florida Limited
  Partnership and BAHIA SUN REALTY
  CORPORATION, a Florida Corporation,

       Defendants.



                                   FINAL JUDGMENT

         THIS CAUSE was heard on the Stipulation of the Parties to the entry of a Final

  Judgment and the Court being fully advised in the premises,

         IT IS ADJUDGED that Plaintiffs SCOTT BUSH and LISA NAFIS recover from

  Defendants BAHIA SUN ASSOCIATES, LIMITED PARTNERSHIP and BAHIA SUN

  REALTY CORPORATION, jointly and severally, the sum of $53,924.00 in principal,

  $10,559.23 in prejudgment interest, $648.15 in legal costs and $33,934.00 in attorney's

  fees, for a total of $99,065.38, plus post-judgment interest thereafter at the rate

  prescribed by 28 U.S.C. Section 1961, for which let execution issue. The Clerk of Court

  is directed to close this case, to enter this judgment, and to terminate any pending

  motions.
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        DONE AND ORDERED in Chambers in Tampa, this5th day of May, 2009.




        Copies to:

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